      Case 1:17-bk-12408-MB         Doc 361 Filed 12/21/17 Entered 12/21/17 13:47:28           Desc
                                     Main Document    Page 1 of 10


 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
      Attorneys for Chapter 11 Debtors and Debtors in Possession
 66
      Samuel R. Maizel (SBN 189301)
 77   Tania M. Moyron (SBN 235736)
      DENTONS US LLP
 88   601 South Figueroa Street, Suite 2500
      Los Angeles, California 90017-5704
 99   Telephone: (213) 623-9300; Facsimile: (213) 623-9924
      Email : samuel.maizel@dentons.com; tania.moyron@dentons.com
10
10    Attorneys for Official Committee of Equity Security Holders
11
11
                                UNITED STATES BANKRUPTCY COURT
12
12                               CENTRAL DISTRICT OF CALIFORNIA
                                  SAN FERNANDO VALLEY DIVISION
13
13
      In re:                                              Lead Case No.: 1:17-bk-12408-MB
14
14                                                        Jointly administered with:
      ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
15
15    corporation,1
                                                          Chapter 11 Cases
16
16              Debtor and Debtor in Possession.
                                                          JOINT    NOTICE     REGARDING
17
17    In re:                                              ALLOWED CLAIMS AND PAYMENT
                                                          OF ALLOWED CLAIMS PURSUANT
18
18    ICPW Liquidation Corporation, a Nevada              TO ORDER GRANTING DEBTORS’
      corporation,2                                       MOTION FOR AUTHORITY TO PAY
19
19
                Debtor and Debtor in Possession.          UNDISPUTED PRE-PETITION CLAIMS
20
20                                                        OF    SOLVENT    ESTATE    AND
          Affects:                                        ESTABLISHING PROTOCOL
21
21
            Both Debtors                             DATE:          December 12, 2017
22
22                                                   TIME:          1:30 p.m.
          ICPW Liquidation Corporation, a California PLACE:        Courtroom “303”
23
23    corporation
                                                                   21041 Burbank Blvd.
24
24        ICPW Liquidation Corporation, a Nevada                   Woodland Hills, CA 91367
      corporation.
25
25
26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28

                                                      1
Case 1:17-bk-12408-MB   Doc 361 Filed 12/21/17 Entered 12/21/17 13:47:28   Desc
                         Main Document    Page 2 of 10
Case 1:17-bk-12408-MB   Doc 361 Filed 12/21/17 Entered 12/21/17 13:47:28   Desc
                         Main Document    Page 3 of 10




                           EXHIBIT “1”
                                Case 1:17-bk-12408-MB           Doc 361 Filed 12/21/17 Entered 12/21/17 13:47:28                         Desc
                                                                 Main Document    Page 4 of 10
                                                                                                                         Post-Petition
                                                                                                          REMAINING        Interest @       TOTAL
                                                CASE IN WHICH                       AMOUNT
                                                                CLAIM  ALLOWED                            ALLOWED            1.23%        REMAINING
                CREDITOR                            CLAIM                         PREVIOUSLY                                                                CLAIM PRIORITY
                                                                NOS. CLAIM AMOUNT                           CLAIM        (interest rate CLAIM AMOUNT
                                              FILED/SCHEDULED                        PAID
                                                                                                           AMOUNT        as of date of WITH INTEREST
                                                                                                                            petition)

1920 Hutton Court                                   NV                    $13,257.09         $13,257.09          $0.00        $30.36           $30.36   General Unsecured Claim
Account Temps                                       CA           26        $5,662.28              $0.00      $5,662.28        $20.21        $5,682.49   General Unsecured Claim
Advantage Media Services                            CA            4      $178,522.75        $178,522.75          $0.00       $408.81          $408.81   General Unsecured Claim
AML United Limited                                  CA                    $28,330.56         $28,330.56          $0.00        $64.88           $64.88   General Unsecured Claim
Amster, Rothstein & Ebenstein, LLP                  CA           11       $11,395.96              $0.00     $11,395.96        $40.68       $11,436.64   General Unsecured Claim
Atmos Energy                                        CA                        $51.98              $0.00         $51.98         $0.19           $52.17   General Unsecured Claim
Ben Padnos                                          CA                     $1,304.35              $0.00      $1,304.35         $4.66        $1,309.01   General Unsecured Claim
BIC ALLIANCE                                        CA                     $5,800.00              $0.00      $5,800.00        $20.70        $5,820.70   General Unsecured Claim
BNSF                                                CA           15       $14,788.95              $0.00     $14,788.95        $52.79       $14,841.74   General Unsecured Claim
Broadridge                                          CA                     $2,110.51              $0.00      $2,110.51         $7.53        $2,118.04   General Unsecured Claim
Business Systems Integrators, LLC (Assigned         CA                      $695.00               $0.00       $695.00          $2.48         $697.48    General Unsecured Claim
to CRG Financial LLC)
                                                    CA                       $891.40              $0.00       $891.40          $3.18         $894.58 Priority ($600.00)/General
                                                                                                                                                     Unsecured Claim ($291.40)
California Board of Equalization
Chang Bang Gloves (Hong Kong) Co.,                 CA/NV        17,6    $1,239,125.72   $1,228,307.56       $10,818.16      $2,851.37      $13,669.53 General Unsecured Claim
Limited/Nantong Chang Bang Gloves Co.
Commerce Technologies, Inc.                         CA                      $288.10               $0.00       $288.10          $1.03         $289.13    General Unsecured Claim
Custom Information Sevices                          NV           5         $3,546.45              $0.00      $3,546.45        $12.66        $3,559.11   General Unsecured Claim
Daylight Transport                                  CA                      $355.09               $0.00       $355.09          $1.27         $356.36    General Unsecured Claim
DESIGN GALLERY (PVT.) LTD.                          CA                    $12,801.60         $12,801.60          $0.00        $29.31           $29.31   General Unsecured Claim
DESUN GARMENTS, LTD. (Assigned to CRG               CA           18        $7,691.75          $7,691.75          $0.00        $17.61           $17.61   General Unsecured Claim
Financial LLC)
Dival Safety & Supplies                            CA                      $2,095.00              $0.00      $2,095.00          $7.48       $2,102.48   General Unsecured Claim
DRG Strategic, LLC - Bob Goldstein                 CA                       $556.75               $0.00       $556.75           $1.99        $558.74    General Unsecured Claim
DTM Sales                                          CA                      $3,184.26              $0.00      $3,184.26         $11.37       $3,195.63   General Unsecured Claim
Emmett Murphy                                      CA                      $1,304.35              $0.00      $1,304.35          $4.66       $1,309.01   General Unsecured Claim
FedEx                                              CA            24       $18,551.03              $0.00     $18,551.03         $66.22      $18,617.25   General Unsecured Claim
Ginger Collier                                     CA                       $797.81               $0.00       $797.81           $2.85        $800.66    General Unsecured Claim
GT Graphics of Sheboygan LLC                      CA, NV        10, 4       $759.07               $0.00       $759.07           $2.71         $761.78   General Unsecured Claim
Hewlett Packard                                    CA                       $364.80               $0.00       $364.80           $1.30        $366.10    General Unsecured Claim
KA HUNG GLOVE INUSTRIAL CO. LTD.                   CA                     $49,957.73         $38,934.90     $11,022.83        $153.75      $11,176.58   General Unsecured Claim
Konica Minolta Business Solutions                  CA                      $1,152.31          $1,152.31          $0.00          $2.64           $2.64   General Unsecured Claim
LAB Sales Agency                                   CA                         $54.92              $0.00         $54.92          $0.20          $55.12   General Unsecured Claim
LF Logistics                                       CA                         $69.10              $0.00         $69.10          $0.25          $69.35   General Unsecured Claim
Liaison Technologies, Inc.                         CA            23         $945.00               $0.00       $945.00           $3.37        $948.37    General Unsecured Claim
Lien Shun Yang Leather Co., Ltd.                   CA                         $34.59              $0.00         $34.59          $0.12          $34.71   General Unsecured Claim
MARUSAN - MIMASU TSHUSHO CO. LTD.                  CA                    $382,811.28        $382,811.28          $0.00        $876.61         $876.61   General Unsecured Claim
Mediant                                            CA                       $253.09               $0.00       $253.09           $0.00        $253.09    General Unsecured Claim
MERCINDO GLOBAL MANUFAKTUR                         CA                    $453,831.81        $444,674.64      $9,157.17      $1,050.97      $10,208.14   General Unsecured Claim
National Safety Council                            CA                       $395.00               $0.00       $395.00           $1.41        $396.41    General Unsecured Claim

                                                                              Page 1 of 2
                                 Case 1:17-bk-12408-MB    Doc 361 Filed 12/21/17 Entered 12/21/17 13:47:28                     Desc
                                                           Main Document    Page 5 of 10
Net Pack (Assigned to Argo Partners)             CA                   $3,554.60             $0.00      $3,554.60     $12.69      $3,567.29   General Unsecured Claim
Office Depot Acct 31A                            CA                    $317.44              $0.00       $317.44       $1.13       $318.57    General Unsecured Claim
Pacific Stock Transfer Company                   CA                    $958.00              $0.00       $958.00       $3.42       $961.42    General Unsecured Claim
Perry HVAC                                       CA                   $1,264.09             $0.00      $1,264.09      $4.51      $1,268.60   General Unsecured Claim
Pestilli & Associates                            CA                    $157.46              $0.00       $157.46       $0.56       $158.02    General Unsecured Claim
Pitney Bowes Credit Corp.                        CA                    $452.99            $452.99          $0.00      $1.04          $1.04   General Unsecured Claim
Precision Testing Laboratories (Assigned to      CA                   $1,500.00             $0.00      $1,500.00      $5.35      $1,505.35   General Unsecured Claim
CRG Financial LLC)
Progroup Incorporated                            CA        22         $1,000.00              $0.00     $1,000.00      $3.57      $1,003.57 General Unsecured Claim
PT JJ GLOVES INDO                                CA                 $162,917.76        $162,917.76         $0.00    $373.07       $373.07 General Unsecured Claim
PT SEOK HWA INDONESIA                            CA                  $13,174.86         $13,174.86         $0.00     $30.17         $30.17 General Unsecured Claim
PT SPORT GLOVE INDONESIA                         CA                 $144,238.66        $144,238.66         $0.00    $330.30       $330.30 General Unsecured Claim
Quill Corporation                                CA                      $67.46              $0.00        $67.46      $0.24         $67.70 General Unsecured Claim
Republic Services                                CA                     $341.10              $0.00      $341.10       $1.22       $342.32 General Unsecured Claim
Resources Global Professionals                  NV, CA      1        $80,767.00              $0.00    $80,767.00    $288.31     $81,055.31 General Unsecured Claim
Robert Steckler                                  CA                   $1,304.35              $0.00     $1,304.35      $4.66      $1,309.01 General Unsecured Claim
Russ McDonald                                    CA                      $98.65              $0.00        $98.65      $0.35         $99.00 General Unsecured Claim
Safeco Building Maintenance                      CA                     $646.35              $0.00      $646.35       $2.31       $648.66 General Unsecured Claim
Shur-Sales & Marketing, Inc.                     CA                  $16,125.00              $0.00    $16,125.00     $57.56     $16,182.56 General Unsecured Claim
SPS Commerce                                     CA                   $1,022.55              $0.00     $1,022.55      $3.65      $1,026.20 General Unsecured Claim
Superior Printing, Inc.                          CA                     $162.23              $0.00      $162.23       $0.58       $162.81 General Unsecured Claim
Synetra                                          CA                   37,972.33         $37,972.33         $0.00     $86.95         $86.95 General Unsecured Claim
TAB Sales Soulutions                             CA                     $430.52              $0.00      $430.52       $1.54       $432.06 General Unsecured Claim
Three Part Advisors, LLC                         CA         2         $6,900.00              $0.00     $6,900.00     $24.63      $6,924.63 General Unsecured Claim
TRI/AUSTIN, INC                                  CA                    $350.00               $0.00      $350.00       $1.25       $351.25 General Unsecured Claim
TXU Energy                                       CA         9         $1,752.73              $0.00     $1,752.73      $6.26      $1,758.99 General Unsecured Claim
Tyco Integrated Security, LLC                    CA                     $279.06              $0.00      $279.06       $1.00       $280.06 General Unsecured Claim
Uline                                            CA                    $710.49               $0.00      $710.49       $2.54       $713.03 General Unsecured Claim
University of Milwaukee                          CA                  $33,333.00              $0.00    $33,333.00    $118.99     $33,451.99 General Unsecured Claim
UPS Freight                                      CA                    $504.55               $0.00      $504.55       $1.80       $506.35 General Unsecured Claim
W.W. Grainger. Inc.                              CA        19       $180,000.00        $180,000.00         $0.00    $412.19       $412.19 General Unsecured Claim
Werner Logistics (assigned to ASM Capital V,     CA                   $3,825.00              $0.00     $3,825.00     $13.65      $3,838.65 General Unsecured Claim
L.P.)
Windstream                                       CA        14         $1,739.59              $0.00     $1,739.59       $6.21     $1,745.80   General Unsecured Claim
WINSPEED SPORTS SHANGHAI CO., LTD.               CA        12       $152,830.45        $152,830.45         $0.00    $349.97       $349.97    General Unsecured Claim
WONEEL MIDAS LEATHERS                            CA        16       $810,055.88        $785,358.50    $24,697.38   $1,886.58    $26,583.96   General Unsecured Claim
Yellow and Roadway                               CA                  $12,391.41              $0.00    $12,391.41      $44.23    $12,435.64   General Unsecured Claim
California Dept of Tax and Fee Administration    CA        25          $573.60               $0.00      $573.60        $2.05      $575.65    Priority
Comptroller of Public Accounts                   NV         8         $1,000.00              $0.00     $1,000.00       $3.57     $1,003.57   Priority
Comptroller of Public Accounts                  CA, NV      9         $4,108.24              $0.00     $4,108.24      $14.66     $4,122.90   Priority

                                                         TOTALS:   $4,122,564.84   $3,813,429.99     $309,134.85   $9,860.35   $318,995.20




                                                                         Page 2 of 2
Case 1:17-bk-12408-MB                Doc 361 Filed 12/21/17 Entered 12/21/17 13:47:28                                       Desc
                                      Main Document    Page 6 of 10
                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled JOINT NOTICE REGARDING ALLOWED
      CLAIMS AND PAYMENT OF ALLOWED CLAIMS PURSUANT TO ORDER GRANTING DEBTORS’
  4   MOTION FOR AUTHORITY TO PAY UNDISPUTED PRE-PETITION CLAIMS OF SOLVENT ESTATE
      AND ESTABLISHING PROTOCOL will be served or was served (a) on the judge in chambers in the
  5   form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On December 21, 2017, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail
  8   Notice List to receive NEF transmission at the email addresses stated below:

  9            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
               Ron Bender rb@lnbyb.com
 10            Cathrine M Castaldi ccastaldi@brownrudnick.com
               Russell Clementson russell.clementson@usdoj.gov
 11            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
               Matthew A Gold courts@argopartners.net
 12            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
               Jeffrey A Krieger jkrieger@ggfirm.com,
 13             kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
                usker.com
 14            Samuel R Maizel samuel.maizel@dentons.com,
                alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
 15             .com;kathryn.howard@dentons.com
               Krikor J Meshefejian kjm@lnbrb.com
 16            Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
               S Margaux Ross margaux.ross@usdoj.gov
 17            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
               Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
 18
 19   2. SERVED BY UNITED STATES MAIL: On December 21, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 20   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 21
 22                                                                           Service information continued on attached page
 23
 24   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 25   on December 21, 2017, I served the following persons and/or entities by personal delivery, overnight
      mail service, or (for those who consented in writing to such service method), by facsimile transmission
 26   and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
      overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 1:17-bk-12408-MB                Doc 361 Filed 12/21/17 Entered 12/21/17 13:47:28                                       Desc
                                      Main Document    Page 7 of 10

  1   Served via Attorney Service
      Hon. Martin R. Barash
  2   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  3   Woodland Hills, CA 91367

  4   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  5
       December 21, 2017                     Stephanie Reichert                          /s/ Stephanie Reichert
  6    Date                                  Type Name                                   Signature

  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
            Case 1:17-bk-12408-MB     Doc 361 Filed 12/21/17 Entered 12/21/17 13:47:28                   Desc
                                       Main Document    Page 8 of 10
                                      1920 Hutton Court                          Account Temps
                                      Inwood National Bank                       Karen Lima of Robert Half
                                      PO Box 857413                              PO Box 5024
                                      Richardson, TX 75085                       San Ramon, CA 94583


Advantage Media Services              AML United Limited                         Amster, Rothstein & Ebenstein, LLP
29010 Commerce Center Drive           29th Floor, Nanyang Plaza                  90 Park Avenue
Valencia, CA 91355                    57 Hung To Road, Kwun Tong, Kowloon        New York, NY 10016
                                      Hong Kong, China,


Atmos Energy                          Ben Padnos                                 BIC ALLIANCE
Three Lincoln Centre, Suite 1800      PO Box 1993                                P O Box 40166
5430 LBJ Freeway                      Manhattan Beach, CA 90267                  Baton Rouge, LA 70835
Dallas, TX 75240


BNSF                                  Broadridge                                 CRG Financial LLC
1600 Lakeside Parkway #100            P.O. Box 416423                            100 Union Avenue
Flower Mound, TX 75028                Boston, MA 02241-6423                      Cresskill, NJ 07626



California Board of Equalization      California Dept of Tax and Fee             Chang Bang Gloves (Hong Kong) Co.,
Acct. Analysis & Control Sec. MIC 2   Administration                             Limited/Nantong Chang Bang Gloves Co.
PO Box 942879                         Special Ops, MIC:55                        W. Steven Bryant, Locke Lord LLP
Sacramento, CA 94279-0029             PO Box 942879                              600 Congress Avenue, Ste 2200
                                      Sacramento, CA 94279                       Austin, TX 78701

Commerce Technologies, Inc.           Comptroller of Public Accounts             Comptroller of Public Accounts
25736 Network Place                   Revenue Accounting Division - Attention:   Revenue Accounting Division - Attention:
Chicago, IL 60673-1257                Bankruptcy                                 Bankruptcy
                                      P.O. Box 13528                             P.O. Box 13528
                                      Austin, TX 78711                           Austin, TX 78711

Custom Information Sevices            Daylight Transport                         DESIGN GALLERY (PVT.) LTD.
1201 N Watson Rd                      P O Box 93155                              PLOT #322/B, MEDICAL ROAD
Arlington, TX 76006                   Long Beach, CA 90809                       HELAL MARKET, UTTARKHAN
                                                                                 DHAKA-1230, Bangladesh,


CRG Financial LLC                     Dival Safety & Supplies                    DRG Strategic, LLC - Bob Goldstein
100 Union Avenue                      1721 Niagra Street                         P O BOX 191981
Cresskill, NJ 07626                   Buffalo, NY 14207                          Dallas, TX 75219



DTM Sales                             Emmett Murphy                              FedEx
391 Gingercake Road                   3901 Turtle Creek Blvd.                    FedEx Corporate Services as Assignee
Fayetteville, GA 30214                Dallas, TX 75219                           3965 Airways Blvd, Module G, 3rd Floor
                                                                                 Memphis, TN 38116


Ginger Collier                        GT Graphics of Sheboygan LLC               Hewlett Packard
6524 Deseo Apt. 358                   826 Michigan Avenue                        1501 Page Mill Road
Irving, TX 75039                      Sheboygan, WI 53081                        Palo Alto, CA 94304
            Case 1:17-bk-12408-MB     Doc 361 Filed 12/21/17 Entered 12/21/17 13:47:28              Desc
                                       Main Document    Page 9 of 10
KA HUNG GLOVE INUSTRIAL CO.           Konica Minolta Business Solutions    LAB Sales Agency
LTD.                                  100 Williams Drive                   58 Regis Drive
Fujian Quanzhou Jiacheng Leather      Ramsey, NJ 7446                      Winnipeg, MB R2N 1K3
Ka Hung Holdings BldgM Chi Feng Rd                                         Canada,
Quanzhou City, Fujian, 36200

LF Logistics                          Liaison Technologies, Inc.           Lien Shun Yang Leather Co., Ltd.
230-19 International Airport Ct., S   Dept AT 952956                       No.48, Mincheng Street, Daliao Dist
Springfield Gardens, NY 11413         Atlanta, GA 31192                    Kaosiung City 831, Taiwan (R.O.C.)



MARUSAN - MIMASU TSHUSHO CO.          Mediant                              MERCINDO GLOBAL MANUFAKTUR
LTD.                                  P.O. Box 29976                       JL. RAYA SEMARANG-BAWEN KM.29
NO 1 QUEEN' ROAD CENTRAL              New York, NY 10087                   Semerang, Central Java
HONG KONG                                                                  50661, Indonesia,
CHINA,

National Safety Council               Argo Partners                        Office Depot Acct 31A
P.O. Box 558                          12 West 37th Street                  P.O. Box 88040
Itasca, IL 60143                      9th Floor                            Chicago, IL 60680-1040
                                      New York, NY 10018


Pacific Stock Transfer Company        Perry HVAC                           Pestilli & Associates
6725 Via Austi Pkwy                   10000 North Central Expressway       193 Sam Brown Hill Road
Suite 300                             Suite 400                            Brownfield, ME
Las Vegas, NV 89119                   Dallas, TX 75231


Pitney Bowes Credit Corp.             CRG Financial LLC                    Progroup Incorporated
P.O.Box 371887                        100 Union Avenue                     Heidi Wodark
Pittsburg, PA 15250-7887              Cresskill, NJ 07626                  P.O. Box 6585
                                                                           Englewood, CO 80155


PT JJ GLOVES INDO                     PT SEOK HWA INDONESIA                PT SPORT GLOVE INDONESIA
JL Ronggowarsito, Mlese, Ceper        Room 1218, Krantz Techno Bldg.       Krandon Desa Pandowoharjo
Bonded Zone, Klaten                   5442-1 Sang Dae Won-Dong, Sung Nam   Sleman
Central Java, Indonesia, 57463        Kyung Gi-Do, Indonesia, 00046-2819   Yogyakarta, Indonesia, 55512


Quill Corporation                     Republic Services                    Resources Global Professionals
P.O. Box 37600                        4200 East 14th Street                PO Box 740909
Philadelphia, PA 19101                Plano, TX 75074                      Los Angeles, CA 90074



Robert Steckler                       Russ McDonald                        Safeco Building Maintenance
3000 Tradewind Drive                  23785 - 110B Avenue                  5013 Brandenburg Lane
Spicewood, TX 78669                   Maple Ridge, B.C. V2W1 E6, Canada    The Colony, TX 75056



Shur-Sales & Marketing, Inc.          SPS Commerce                         Superior Printing, Inc.
3830 S Windermere St.                 333 South Seventh St. Ste. 1000      P O Box 844550
Englewood, CO 80110                   Minneapolis, MN 55402                Los Angeles, CA 90084-4550
            Case 1:17-bk-12408-MB          Doc 361 Filed 12/21/17 Entered 12/21/17 13:47:28              Desc
                                           Main Document     Page 10 of 10
Synetra                                    TAB Sales Soulutions                  Three Part Advisors, LLC
1110 E. State Highway 114                  12109-94A Street                      P O Box 92698
Suite 200                                  Grand Prairie, AB T8V 5C2             Southlake, TX 76092
Southlake, TX 76092                        Canada,


TRI/AUSTIN, INC                            TXU Energy                            Tyco Integrated Security, LLC
P O BOX 207097                             PO Box 650393                         P.O. Box 371967
DALLAS, TX 75063                           Dallas, TX 75265                      Pittsburgh, PA 15250-7967



Uline                                      University of Milwaukee               UPS Freight
2950 E. Jurupa Street                      P O Box 500                           7754 Paramount Blvd.
Ontario, CA 91761                          University of Wisconsin - Milwaukee   Pico Rivera, CA 90660
                                           Milwaukee, WI 53201


W.W. Grainger. Inc.                        ASM Capital V, L.P.                   Windstream
Leah Wardak                                7600 Jericho Turnpike                 PAETEC
100 Grainger Parkway                       Suite 302                             P O Box 9001013
Lake Forest, IL 60045                      Woodbury, NY 11797                    Louisville, KY 40290


WINSPEED SPORTS SHANGHAI CO.,              WONEEL MIDAS LEATHERS                 Yellow and Roadway
LTD.                                       Woneel America, Inc.                  P. O. Box 100129
Creditors Adjustment Bureau, assignee of   1520 Oak Street                       Pasadena, CA 91355
Windspeed Sports Co. Ltd.                  South Pasadena, CA 91030
14226 Ventura Blvd
Sherman Oaks, CA 91423
